[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]               MEMORANDUM OF DECISION ON MOTION FOR REMAND
The plaintiff has brought this appeal from a June 5, 1998 decision of the Department of Motor Vehicles denying her claim against a surety bond.
The Department of Motor Vehicles concedes that the proceedings which resulted in the decision involved inadequate notice to the parties. The court further finds from its review of the decision that it contains insufficient findings relating to the obligations of United Pacific Insurance Company and/or Western Surety Company.
The court sustains the plaintiff's appeal pursuant to General Statutes § 4-183 (j)(3) and (4); and remands the case for further proceedings involving the plaintiff's claims with respect to both surety companies.
Robert F. McWeeny, J.